        Case 1:09-cv-00540-REB Document 333 Filed 01/31/20 Page 1 of 3



BRADY J. HALL (ISBN 7873)
brady@melawfirm.net
MICHAEL W. MOORE (ISBN 1919)
mike@melawfirm.net
MOORE ELIA KRAFT & HALL, LLP
Post Office Box 6756
Boise, Idaho 83707
Telephone: (208) 336-6900
Facsimile: (208) 336-7031

JAYME SULLIVAN (ISBN 6258)
jsullivan@cityofboise.org
Boise City Attorney
SCOTT B. MUIR (ISBN 4229)
SMuir@cityofboise.org
Deputy City Attorney
BOISE CITY ATTORNEY’S OFFICE
150 North Capitol Boulevard
P.O. Box 500
Boise, Idaho 83701-0500
Telephone: (208) 384-3870
Facsimile: (208) 384-4454

Attorneys for Defendant City of Boise

                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

 ROBERT MARTIN, et al.,                 ) Civil No. 1:09-CV-00540-REB
                                        )
                       Plaintiffs,      ) NOTICE OF APPEARANCE OF JAYME
                                        )
                                          SULLIVAN
 vs.                                    )
                                        )
 CITY OF BOISE, et al.,                 )
                                        )
                                        )
                   Defendants.          )
 _________________________________      )




NOTICE OF APPEARANCE OF JAYME SULLIVAN - 1
        Case 1:09-cv-00540-REB Document 333 Filed 01/31/20 Page 2 of 3



       PLEASE TAKE NOTICE that Jayme Sullivan, Boise City Attorney, hereby enters her

appearance as counsel on behalf of the Defendant City of Boise in the above-entitled action. The

information required by District Local Rule Civ. 5.2 is contained herein above.

       DATED this 31st day of January, 2020.

                                                    s/ Jayme Sullivan
                                                    Jayme Sullivan
                                                    Counsel for City of Boise




NOTICE OF APPEARANCE OF JAYME SULLIVAN - 2
        Case 1:09-cv-00540-REB Document 333 Filed 01/31/20 Page 3 of 3



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 31st day of January 2020, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to the following persons:

 Howard Belodoff                                 Served through CM/ECF at:
 Idaho Legal Aid Services, Inc.              howardbelodoff@idaholegalaid.org
 1447 So. Tyrell Lane
 Boise, ID 83706
 Attorney for Plaintiffs

 Michael E. Bern                                  Served through CM/ECF at:
 Krysta C. Copeland                          Michael.bern@lw.com
 Allen M. Gardner                            Krysta.copeland@lw.com
 Scott C. Jones                              Allen.gardner@lw.com
 Latham & Watkins LLP                        Scott.jones@lw.com
 555 11th Street NW,
 Suite 1000
 Washington, DC 20004
 Attorney for Plaintiffs

 Sharon Brett                                     Served through CM/ECF at:
 US Dept. of Justice                         sharon.brett@usdoj.gov
 Civil Rights Division
 950 Pennsylvania Ave. NW
 Washington, DC 20530
 Attorney for Plaintiffs

 Eric S. Tars                                     Served through CM/ECF at:
 National Law Center on Homelessness &       etars@nlchp.org
 Property
 2000 M St. NW, Ste. 210
 Washington, DC 20036
 Attorney for Plaintiffs

                                           /s/ Brady J. Hall
                                           Brady J. Hall




NOTICE OF APPEARANCE OF JAYME SULLIVAN - 3
